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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                        Case No. 11-20129
                     Plaintiff,
                                                   Honorable Robert H. Cleland
 vs.

 D-11, JOHN RENNY RIEDE,
 and
 D-16, TIMOTHY PAUL DOWNS,

                 Defendants.
 __________________________________/

                AMENDMENT TO PRELIMINARY ORDERS
                   OF FORFEITURE FOR DEFENDANTS
             JOHN RENNY RIEDE AND TIMOTHY PAUL DOWNS

       On March 9, 2016, the Court entered a Preliminary Order of Forfeiture against

 Defendant Timothy Paul Downs (Docket No. 1734), and on April 4, 2016, the Court

 entered a Preliminary Order of Forfeiture against Defendant John Renny Riede

 (Docket No. 1767). The government filed an application requesting that these two

 Preliminary Orders of Forfeiture be amended for the sole purpose of removing the

 forfeiture of the DDMC Trademark. Accordingly, this Court now makes the

 following Order:



       PURSUANT TO FEDERAL RULE OF CRIMINAL PROCEDURE 32.2(c)(2),

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 IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT the Preliminary

 Orders of Forfeiture entered in the above captioned action on March 9, 2016 against

 Defendant Timothy Paul Downs (Docket No. 1734) and on April 4, 2016 against

 Defendant John Renny Riede (Docket No. 1767) are hereby amended for the sole

 purpose of removing the forfeit of the DDMC Trademark.

       The Court shall retain jurisdiction to enter any orders necessary to amend or

 enforce this order.

 IT IS SO ORDERED.


                                           S/Robert H. Cleland
                                          ROBERT H. CLELAND
                                          UNITED STATES DISTRICT JUDGE


 Dated: September 8, 2016


 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 and/or pro se parties on this date, September 8, 2016, by electronic and/or ordinary mail.


                                            S/Lisa Wagner
                                          Case Manager and Deputy Clerk
                                          (313) 234-5522




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